Case 1:18-cv-00950-LO-JFA Document 159 Filed 05/20/19 Page 1 of 4 PageID# 3985



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

SONY MUSIC ENTERTAINMENT, et al.,

                     Plaintiffs,

 v.                                                        Case No. 1:18cv950-LO-JFA

COX COMMUNICATIONS, INC.,

                     Defendant.




 JOHN DOE’S (1) OBJECTION TO DEFENDANT DISCLOSING ITS SUBSCRIBER
 INFORMATION TO PLAINTIFFS PURSUANT TO COURT’S MAY 6, 2019 ORDER
AND (2) MOTION FOR LEAVE TO FILE UNDER SEAL AN UNREDACTED VERSION
                    OF SUPPORTING DECLARATION

        John Doe, by counsel and pursuant to Fed. R. Civ. P. 26, objects to the proposed

disclosure by Defendant Cox Communications, Inc. (“Cox”) to Plaintiffs of John Doe’s

confidential subscriber information pursuant to this Court’s Order Granting Stipulation to

Produce Identifying Information Concerning Certain Cox Business Subscribers [Doc. No. 140].

In addition, pursuant to Fed. R. Civ. P. 5.2(d) and Local Rule 5, John Doe moves the Court for

leave to file under seal, for in camera review, an unredacted version of the attached supporting

declaration, to the extent the Court deems it necessary to review the unredacted version in order

to rule on this objection. As supported by the attached declaration, John Doe states as follows

for its objection:

        1.      John Doe is a non-profit corporation that provides hospital and medical care

services at its health care facilities in a municipality located in a distant state outside of Virginia.

(See attached declaration [“Decl.”] ¶ 2).



                                                   1
Case 1:18-cv-00950-LO-JFA Document 159 Filed 05/20/19 Page 2 of 4 PageID# 3986



       2.      As a medical care provider, John Doe has a secured computer network, connected

to the internet, and accessible only by approved employees, staff, and providers who are granted

password-protected access privileges. (Decl. ¶ 3). Cox is NOT the internet service provider for

any of John Doe’s secured networks. (Id.).

       3.      Like other medical care providers, John Doe provides an unsecured, public

wireless (“Public WiFi”) network that can be accessed by patients and other visitors who agree

to abide by John Doe’s terms of use for the Public WiFi network. (Decl. ¶ 4). Cox is the

internet service provider for this Public WiFi network. (Id.).

       4.      During the period from 2011 to 2014, before a visitor was granted access to John

Doe’s Public WiFi network, the visitor was required to check a box affirming that he or she

would adhere to the terms of use in a written access agreement. (Decl. ¶¶ 5-6). The terms of use

prohibited illegal downloading. (Decl., attachment p. 2 (“Prohibited Conduct”)).

       5.      Periodically, John Doe would receive a notice from Cox advising that someone on

the Public WiFi network had used Bit Torrent to download allegedly copyrighted material from

the internet via a file sharing service. (Decl. ¶ 7). In the notice, Cox would specify a prior date

(several days earlier), IP address, and port ID associated with the activity. (Id.).

       6.      The information provided by Cox did not enable John Doe to identify the specific

device used by a visitor to engage in the download activity cited in Cox’s notice; and, during the

time period at issue, John Doe did not track the MAC address of any device that accessed its

Public WiFi network. (Decl. ¶¶ 8-9)

       7.      In the absence of such information, John Doe will be unable to identify, for the

time period at issue, the MAC address for any visitor’s device that used its Public WiFi network




                                                  2
Case 1:18-cv-00950-LO-JFA Document 159 Filed 05/20/19 Page 3 of 4 PageID# 3987



on the dates mentioned in any of the notices received from Cox. Moreover, even the MAC

address will not enable the litigants to determine the identity of the device user.

       8.      Thus, disclosure of John Doe’s subscriber information will not lead to the

discovery of the individual(s) who are alleged by Plaintiffs to have engaged in copyright

infringement through the misuse of John Doe’s network in violation of the access agreement.

       9.      All disclosure will accomplish is a breach of John Doe’s privacy rights under the

Cable Communications Privacy Act, 47 USC § 551, and the imposition of time and expense

burdens on John Doe, all without furthering any claim or defense in this case.

       WHEREFORE, John Doe moves the Court for an Order sustaining this objection and

barring Cox from disclosing John Doe’s subscriber information to Plaintiffs. Further, if necessary

for the Court to rule on this objection, John Doe moves for leave to file under seal, for in camera

review by the Court, an unredacted version of the supporting declaration.



Dated: May 20, 2019
                                                      JOHN DOE


                                                      By:     /s/ Timothy S. Baird

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                                                  3
Case 1:18-cv-00950-LO-JFA Document 159 Filed 05/20/19 Page 4 of 4 PageID# 3988



                                CERTIFICATE OF SERVICE

           I hereby certify that on this 20th day of May, 2019, I caused a copy of the foregoing

objection to be sent via the Court’s ECF system to all parties receiving ECF notices in this case.




                                                     /s/ Timothy S. Baird




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